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 6

 7                                      UNITED STATES DISTRICT COURT

 8                                   NORTHERN DISTRICT OF CALIFORNIA

 9                                                  OAKLAND DIVISION

10

11 UNITED STATES OF AMERICA,                                   No. CR-05 00334 SBA

12                    Plaintiff,                               SUPPLEMENTAL REQUEST FOR
                                                               WAIVER OF DEFENDANT HENRI
13           vs.                                               BERGER’S PERSONAL PRESENCE AT
                                                               THE PRE-TRIAL CONFERENCE; AND
14 HENRI BERGER,                                               DECLARATION OF DR. IVOR L. GEFT,
        a/k/a Sir Richard Benson                               M.D. IN SUPPORT THEREOF
15
                Defendant.                                     (Fed.R.Crim.P. 43)
16                                                      /

17           Defendant, Henri Berger, by and through his attorney of record, Elena Condes, hereby

18 submits a Supplemental Request for Waiver of Defendant Henri Berger’s Personal Presence at

19 the Pre-trial Conference. On May 9, 2006, defendant, Henri Berger, filed a Waiver of Defendant

20 Henri Berger’s Personal Presence, Doc. No. 146 with the Court. On May 10, 2006, the Court

21 denied Mr. Berger’s Waiver of Personal Presence, Doc. 148. The Court did not find good cause

22 to waive Mr. Berger’s appearance as he had a pre-op appointment on May 11, 2006 and the

23 procedure on May 17, 2006, and no appointment on May 16, 2006 (the day of the Pre-Trial

24 Conference). The Court further stated that “[Mr. Berger] did not provide any other explanation

25 regarding his inability to appear at the Pre-Trial Conference” on May 16, 2006.

26           Mr. Berger attended his pre-op appointment today, May 11, 2006, and submits the

27 attached Declaration of Dr. Ivor L. Geft, M.D. in support of his Supplemental Request for

28
     Supplemental Request for Waiver of Defendant
      Henri Berger’s Personal Presence
     (Fed. R. Crim. P. 43)
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 1 Waiver of Defendant Henri Berger’s Personal Presence.

 2           Defendant Berger’s treating physician, Dr. Geft, stated that “Mr. Berger is at risk for a

 3 future heart attack because of his present symptoms and past history.” Dr. Geft further stated that

 4 he “strongly feel[s] that [Mr. Berger] should not be subjected to any stress associated with any

 5 pre-trial appearance or a trial till after the angiogram has been performed and he has completely

 6 recovered from the said angiogram, or any procedure conducted as a result of the said

 7 angiogram.” See, attached Declaration of Dr. Ivor L. Geft, M.D.

 8           Accordingly, Defendant Berger respectfully requests that the Court to allow Mr. Berger

 9 to Waive his Personal Presence at the Pre-Trial Conference.

10

11 Dated: May 9, 2006                                             /S/
                                                           Elena Condes, Attorney for
12                                                         Defendant HENRI BERGER

13

14

15           Based on the foregoing, the Court hereby FINDS good cause to allow Defendant to

16 Waive his appearance at the Pre-Trial Conference. IT IS HEREBY ORDERED that Mr.

17 Berger’s appearance on May 16, 2006 is WAIVED.

18

19           IT IS SO ORDERED.

20

21

22 Dated: May 12, 2006                                      _______________________________
                                                           SAUNDRA BROWN ARMSTRONG
23                                                         United States District Judge

24

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28
     Supplemental Request for Waiver of Defendant
      Henri Berger’s Personal Presence
     (Fed. R. Crim. P. 43)                             2
